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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                  AT LOUISVILLE



CHARLES TINSLEY STEWART                                                            PLAINTIFF

V.                                                                    NO. 3:08CV-00272-JDM

ABSO, INC., et al.                                                               DEFENDANT


                                               ORDER

       The defendants have filed motions for summary judgment in this action (docket nos. 24

and 25). Having considered the motions, being otherwise sufficiently advised, and for the

reasons stated more fully in the memorandum opinion entered concurrently herewith, IT IS

HEREBY ORDERED that the defendants’ motions for summary judgment are GRANTED,

and plaintiff’s claims against them are hereby DISMISSED WITH PREJUDICE.

       This is a final and appealable order.


       DATE: September 27, 2010




cc: counsel of record
